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EXHIBIT F
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SUBSURFACE HYDROCARBON ASSESSMENT REPORT

BP Service Station Number 4318
113-40 Merrick Boulevard
St. Albans, New York

NYSDEC Spill Number 03-08006

April 15, 2004

Prepared for: Prepared by:

Mr. Charles M. Wein Chugh Brecke

BP Products North America Inc.

41 Regan Road Christopher Buck
Ridgefield, CT 06877 Staff Professional

Reviewed by:

BEEP >

Brad Fisher
Project Manager

D DELTA ENVIRONMENTAL CONSULTANTS, INC
84 Business Park Drive, Armonk, New York 10504

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Delta Environmental Consultants, Inc.

BP Service Station No. 4318

St. Albans, New York

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BTEX concentrations were not detected, and the maximum MTBE and total VOC concentrations were
detected at SB-3.

6.2 Ground Water Analytical Results (March 9, 2004)
On March 9, 2004, ten (10) ground water samples (MW-1 through MW-10) were collected from the ten

(10) temporary monitoring wells (MW-1 through MW-10, respectively). The ground water samples were
submitted to Accutest for analysis of VOCs according to EPA Method 8260.

The laboratory analytical results for the ground water samples collected on March 9, 2004 are provided
in Table 2. Analytical results in bold exceed applicable NYSDEC Ground Water Quality Standards
(GWQS). The Laboratory Analytical Results Report for these ground water samples is provided in
Appendix E.

Table 2- Ground Water Analytical Results (March 9, 2004)

. NYSDEC Monitoring Well Locations and Concentrations (ug/l)
Analytical Parameter GWQS (ug/l)!
MW-1 MW-2 MW-3 MwW-4 MW-5
VOCs (pg/I)
Benzene 1 716 806 155 10.5 13
Toluene 5 252 344 940 2.1 0.49 J
Ethylbenzene § 3,010 ~ 1,600 1,550 0.65 <]
Xylenes 5 7,460 6,530 5,710 14.8 2
Total BTEX NGV 11,438 9,280 8,355 28 4
MTBE 10 6,120 65,900 7,970 25.2 200
n-Butylbenzene 5 17,2 J <250 25.6 J 3J 2.5 J
sec-Butylbenzene 5 11.23 <250 21.15 16.6 14.6
tert-Butylbenzene 5 <130 <250 <100 2.2 J <5
Isopropylbenzene 5 96.6 86.6 J 142 20.4 28.5
p-Isopropyltoluene 5 <130 <250 11.63 <5 <5
Naphthalene 10 763 721 712 1.7J <5
n-Propylbenzene 5 252 2345 386 18.3 25.5
1,2,4-Trimethylbenzene 5 1,850 2,090 2,440 0.43 J 5.8
1,3,5-Trimethylbenzene 5 456 490 675 <5 0.52 J
Total VOCs NGV 21,004 78,802 20,738 116 28)

1. Guidance value for VOCs is the NYSDEC GWQS based on NYSDEC’s TAGM, dated January 24, 1994, revised August 22, 2001.
Other than BTEX and MTBE, only compounds detected in at least one sample are shown.

<-~-Not detected at or above indicated laboratory reporting limit.

Total BTEX and Total VOCs - Sum of all BTEX concentrations and sum of all VOC concentrations, rounded.

NGV - No guidance value available for this parameter.

ND - Not detected.

J - Laboratory estimated value.

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Table 2 Cont. - Ground Water Analytical Results (March 9, 2004)

NYSDEC Monitoring Well Locations and Concentrations (g/l)
Analytical Parameter GWOS (ng/)!
MW-6 MW-7 MW-8 MW-9 MW-10
VOCs (ne/l)
Benzene 1 112 3.3 0.773 <1 <1
Toluene 5 32.6 0.48 J <l <1 <I
Ethylbenzene 5 191 1.2 1.9 <1 <1
Xylenes 5 140 2.8 3.6 0.56 J <]
Total BTEX NGV 476 8 6 0.5 ND
MTBE 10 1,440 43.6 18.6 <! 1
n-Butylbenzene 5 26.5 J 12.9 18.3 <5 0.68 J
sec-Butylbenzene 5 22.9 J 23.6 18 <5 0.52 J
tert-Butylbenzene 5 <50 3.2] 1.6] <5 <5
Isopropylbenzene 5 137 116 13.2 <2 0.78 J
p-[sopropyltoluene 5 16.3 J 1J <5 <5 <5
Naphthalene 10 665 <5 2.3 J <5 <5
n-Propylbenzene 5 337 205 23.6 <5 18]
1,2,4-Trimethylbenzene 5 1,120 <5 2.65 <5 <5
1,3,5-Trimethylbenzene 5 779 1J 0.92 J <5 <5
Total VOCs NGV 5,020 - 414 . 108 0.5 5

1. Guidance value for VOCs is the NYSDEC GWQS based on NYSDEC’s TAGM, dated January 24, 1994, revised August 22, 2001.
Other than BTEX and MTBE, only compounds detected in at least one sample are shown.

<-~-Not detected at or above indicated laboratory reporting limit.

Total BTEX and Total VOCs - Sum of all BTEX concentrations and sum of all VOC concentrations, rounded.

NGV - No guidance value available for this parameter.

ND - Not detected.

J - Laboratory estimated value.

As shown in Table 2, laboratory analysis of these ground water samples identified between six (6) and
thirteen (13) VOC concentrations in excess of applicable NYSDEC GWQS in eight (8) of the ten (10)
ground water samples (MW-1, MW-2, MW-3, MW-4, MW-5, MW-6, MW-7, and MW-8). Specifically,
one (1) or more BTEX concentrations in excess of applicable NYSDEC GWQS were identified in seven
(7) of the ten (10) ground water samples (MW-1, MW-2, MW-3, MW-4, MW-5, MW-6, and MW-7), and
MTBE concentrations in excess of the applicable NYSDEC GWQS were identified in eight (8) ground
water samples (MW-1, MW-2, MW-3, MW-4, MW-5, MW-6, MW-7, and MW-8). The total BTEX
concentrations in the ground water samples ranged from not detected in MW-10 to 11,438 micrograms
per liter (ug/l) in MW-1. The total VOC concentrations in the ground water samples ranged from 0.5
ug/l in MW-9 to 78,802 g/l in MW-2.

Figure 5, Appendix A, Ground Water Analytical Results Map, illustrates the distribution of BTEX,
MTBE, and total VOCs present in the ground water during the March 9, 2004 sampling event. Figure 5
indicates that the maximum total BTEX concentration was identified in monitoring well MW-1, the
maximum MTBE concentration was identified in monitoring well MW-2, and the maximum total VOC
concentration was identified in monitoring well MW-2.

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